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                   8
                   9                            UNITED STATES DISTRICT COURT
              10                              CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 2:14-cv-03650-FMO
              12
                                          Plaintiff,              Judge: Hon. Fernando M. Olguin
              13                                                  Magistrate Judge:
                                v.
              14                                                  [DISCOVERY MATTER]
                        VIKTOR KHRAPUNOV; et al.,
              15                                                  DECLARATION OF JONATHAN M.
                                          Defendants.             JACKSON IN SUPPORT OF
              16                                                  PLAINTIFF CITY OF ALMATY’S
                                                                  MOTION TO COMPEL
              17                                                  DEPOSITIONS AND RESPONSES
                                                                  AND PRODUCTION OF
              18                                                  DOCUMENTS RESPONSIVE TO
                                                                  PLAINTIFF’S INTERROGATORIES,
              19                                                  REQUESTS FOR PRODUCTION OF
                                                                  DOCUMENTS, AND REQUEST FOR
              20                                                  ADMISSION BY DEFENDANTS
              21                                                  Hearing Date: February 12, 2018
                                                                  Time: 10:00 a.m.
              22                                                  Court Room: 640
              23                                                  Discovery Cut-Off: February 12, 2018
                                                                  Pre-Trial Conference: August 17, 2018
              24                                                  Trial: September 11, 2018
              25                                                  Action Filed: May 13, 2014
              26
              27
              28
                       US-DOCS\98312509                                          DELCARATION OF JONATHAN JACKSON
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                   1                        DECLARATION OF JONATHAN M. JACKSON
                   2            I, Jonathan M. Jackson, have personal knowledge of the facts set forth herein
                   3 and, if called to do so, could and would competently testify thereto.
                   4            1.        I am an attorney licensed to practice law in the State of California. I
                   5 am an associate at Latham & Watkins LLP and am counsel for plaintiff the City of
                   6 Almaty (“Plaintiff”) in this matter.
                   7            2.        I submit this declaration in support of Plaintiff City of Almaty’s
                   8 Motion to Compel Depositions and Responses and Production of Documents
                   9 Responsive to Plaintiff’s Interrogatories, Requests for Production of Documents
              10 and Requests for Admissions by Defendants.
              11                3.        Attached hereto as Exhibit A is a true and correct copy of a letter,
              12 dated July 20, 2015 (“July 20 Letter”) from David Schindler, a partner at Latham
              13 & Watkins LLP, to Jan L. Handzlik, former counsel for defendants in this matter,
              14 regarding Elvira Kudryashova’s (“Elvira”) and Dmitry Kudryashov’s (“Dmitry”),
              15 as well as Haute Hue LLC’s, Maro Design LLC’s, RPM USA LLC’s, RPM-Maro
              16 LLC’s, 628 Holdings LLC’s, Candian International Ltd.’s, Elvira as Trustee of the
              17 Kasan Family Trust’s and Dmitry as Trustee of the Kasan Family Trust’s
              18 (collectively, the “Original Entity Defendants”) failure to respond to
              19 Interrogatories, Requests for Production of Documents (“RFPs”) and Requests for
              20 Admissions (“RFAs”) served in May and June of 2015 in connection with this
              21 matter. To date, we have not received any responses or objections to the 2015
              22 discovery requests referenced in the July 20 Letter.
              23                4.        Attached hereto as Exhibit B is a true and correct copy of an email
              24 from Lara Kollios, current counsel for Defendants in this matter, dated October 3,
              25 2017, in which she requested a 30-day extension of Defendants’ deadline to
              26 respond to discovery requests that had been served by Plaintiff on September 8, 12
              27 and 15, 2017, requesting an extended deadline of November 13, 2017.
              28
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                   1            5.        My associate Kendall Howes and I subsequently spoke with
                   2 Defendants’ counsel (Lara Kollios and Martha Boersch) by telephone regarding
                   3 their request for an extension. During that call, I informed Defendants’ counsel
                   4 that Plaintiff might be willing to agree to an extension, but in light of the upcoming
                   5 discovery deadline, it could only do so if Defendants were willing to agree that
                   6 they would produce documents and respond substantively to Plaintiff’s discovery
                   7 requests by the extended deadline, and would not just assert objections.
                   8 Defendants’ counsel agreed that they would do so.
                   9            6.        Attached hereto as Exhibit C is a true and correct copy of an email
              10 dated October 17, 2017, from me to Lara Kollios (cc Martha Boersch and Kendall
              11 Howes) confirming that Plaintiff had agreed to the requested 30-day extension,
              12 based on Defendants’ agreement to produce documents and respond substantively
              13 to the discovery requests. While Defendants originally requested that the deadline
              14 be extended to November 13, 2017, Plaintiff ultimately agreed to give Defendants
              15 an extended deadline of November 17, 2017.
              16                7.        In early October, my associate Kendall Howes and I spoke by
              17 telephone with Defendants’ counsel regarding (among other things) the scheduling
              18 of the previously-noticed depositions of Viktor Khrapunov (“Viktor”), Leila
              19 Khrapunova (“Leila”), Iliyas Khrapunov (“Iliyas”), Madina Ablyazova
              20 (“Madina”), Elvira and Dmitry (collectively, the “Individual Defendants”). At that
              21 time, Ms. Kollios stated that Elvira and Dmitry had left the U.S., were currently in
              22 Switzerland, and could not return to the U.S. because their visas had been revoked.
              23 She also stated that Viktor, Leila, Iliyas and Madina were currently in Switzerland,
              24 and could not come to the U.S. for a deposition. She further stated that the
              25 Individual Defendants would not appear for their noticed depositions in Los
              26 Angeles, California, and that her position was that Plaintiff would need to go
              27 through the Hague Convention on the Taking of Evidence (the “Hague
              28 Convention”) in order to take their depositions.
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                   1            8.        On October 18, 2017, I sent an email to Defendants’ counsel (Lara
                   2 Kollios and Martha Boersch) requesting written confirmation of their position
                   3 regarding the depositions of the Individual Deponents, and further requesting
                   4 additional information and documentation regarding their position that the
                   5 Individual Defendants were unable to attend depositions in the U.S., and the
                   6 factual and legal basis for their contention that their depositions must be taken in
                   7 Switzerland pursuant to the Hague Convention. Attached hereto as Exhibit D is a
                   8 true and correct copy of this email.
                   9            9.        Attached hereto as Exhibit E is a true and correct copy of an email
              10 from Ms. Kollios, dated October 20, 2017, in which she stated: “I don’t agree with
              11 your recitation of our representations, and will get back to you next week with
              12 more information. But for the time being, as you know, the Southern District of
              13 New York has held that any deposition of Iliyas in that matter (in which he is also
              14 a defendant) must go through the Hague. The authority supporting that is in the
              15 motion papers and order that can be found on the docket.”
              16                10.       Defendants’ counsel did not provide any further documentation or
              17 written response to the requests for additional information contained in my October
              18 18, 2017 email. Defendants did not serve any written objections to the deposition
              19 notices served on the Individual Defendants. Defendants did not file a motion for a
              20 protective order prior to the noticed deposition dates, or at any point thereafter,
              21 with respect to the noticed depositions of the Individual Defendants.
              22                11.       Attached hereto as Exhibit F is a true and correct copy of a meet and
              23 confer letter dated December 13, 2017, from me to Lara Kollios regarding
              24 Defendants’ deficient responses to Plaintiff’s September 2017 discovery requests,
              25 as well as the failure of several Defendants to respond or object to discovery
              26 requests served in 2015. In particular, this letter addressed:
              27                             a. The Individual Defendants’ refusal to appear for their noticed
              28                                depositions in Los Angeles, California, and their failure to
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                   1                            provide Plaintiff with further factual and legal information
                   2                            regarding their refusal to appear and their contention that each
                   3                            of their depositions must be taken in Switzerland under the
                   4                            Hague Convention;
                   5                         b. The failure of Iliyas, Leila, Madina and Viktor to produce any
                   6                            documents or provide any substantive responses to Plaintiff’s
                   7                            September 2017 discovery requests;
                   8                         c. The failure of the remaining Defendants to provide a single
                   9                            substantive response to any of Plaintiff’s September 2017
              10                                Interrogatories;
              11                             d. Defendants’ failure to produce documents (and provide
              12                                substantive responses) in response to Plaintiff’s September
              13                                2017 discovery requests, in violation of the parties’ prior
              14                                agreement with respect to Defendants’ request for a 30-day
              15                                extension;
              16                             e. Defendants’ violation of this Court’s July 20, 2017 Order,
              17                                which instructs that “discovery shall not be stayed while any
              18                                motion is pending, including any motion to dismiss,” and “[t]he
              19                                parties are directed to conduct any necessary discovery as
              20                                soon as possible[.]” (Dkt. No. 138, at 2 (emphasis in original));
              21                                and
              22                             f. Defendants’ failure to provide responses or objections to
              23                                numerous Interrogatories, Requests for Admission and
              24                                Requests for Production of Documents (listed in the letter) that
              25                                were served in May and June of 2015.
              26                12.       My associate Kendall Howes and I met and conferred telephonically
              27 with Ms. Kollios on December 26, 2017. While I attempted to schedule this meet
              28 and confer to take place earlier, Ms. Kollios stated that she was unavailable before
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                   1 that date. During this call, we discussed at length each of the issues raised in the
                   2 December 13, 2017 letter, and our position as to why Defendants’ discovery
                   3 responses were deficient. Ms. Kollios informed us that Elvira and Dmitry had
                   4 returned to the U.S. on an unspecified date, and that they were now willing to sit
                   5 for their depositions in Los Angeles pursuant to the Federal Rules, in January or
                   6 February. In addition, Ms. Kollios confirmed that Defendants’ objections to the
                   7 September 2017 Interrogatories on the purported basis that “the Court lacks
                   8 personal jurisdiction over defendant” should be ignored for all Defendants other
                   9 than Iliyas, Leila, Madina and Viktor (as none of these Defendants had moved to
              10 dismiss the CAC on the basis of lack of personal jurisdiction). Nonetheless, Ms.
              11 Kollios did not agree to provide responses to any of these Interrogatories, despite
              12 the inapplicability of this objection. The parties were unable to agree to any other
              13 compromises regarding the issues raised in the December 13, 2017 letter. With
              14 respect to the status of the documents that Defendants had agreed to produce, Ms.
              15 Kollios stated that Defendants were working on collecting certain documents, but
              16 that she did not yet have any such documents in her possession and could not tell
              17 us a date by which they would produce documents.
              18              13.       Attached hereto as Exhibit G is a true and correct copy of a second
              19 meet and confer letter, dated December 22, 2017, from me to Lara Kollios
              20 regarding additional deficiencies in Defendants’ responses to Plaintiff’s September
              21 2017 discovery requests. In particular, this letter addressed:
              22                           a. Defendants’ blanket refusal to produce documents in response
              23                              to numerous RFPS (listed in the letter) based on boilerplate
              24                              objections;
              25                           b. Defendants’ improper limitation of numerous RFPs (listed in
              26                              the letter) to documents related solely to property located at 606
              27                              North Alta Drive, Beverly Hills, California;
              28
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                   1                         c. Defendants’ improper limitation of numerous RFPs (listed in
                   2                            the letter) to documents related solely to Defendants and/or
                   3                            concerning accounts or entities located in the U.S.;
                   4                         d. Defendants’ ongoing failure to produce any documents in
                   5                            response to the RFPs;
                   6                         e. Defendants’ blanket refusal to respond to numerous RFAs
                   7                            (listed in the letter) based on boilerplate objections; and
                   8                         f. Defendants’ improper assertion of lack of “sufficient
                   9                            information” to respond to numerous RFAs (listed in the letter)
              10                                seeking information about the Defendants themselves, or about
              11                                entities that the Defendants admittedly owned or controlled.
              12                14.       My associate Kendall Howes and I met and conferred telephonically
              13 with Ms. Kollios on January 8, 9 and 10, 2018. During these calls, we discussed at
              14 length each of the issues raised in the December 22, 2017 letter, and our position as
              15 to why Defendants’ discovery responses set forth in the letter were deficient, and
              16 we also continued to meet and confer regarding the issues raised in the
              17 December 13, 2017 letter (discussed above).
              18                15.       With respect to depositions, Ms. Kollios stated that she believed the
              19 depositions of Viktor, Leila, Iliyas and Madina should take place in Switzerland
              20 under the Hague Convention because they reside there. In addition, she stated that
              21 there are Interpol Red Notices for Viktor and Iliyas (but not for Leila and Madina)
              22 whom she asserted fear some form of arrest or extradition if they leave
              23 Switzerland. During the January 10, 2018 call, Ms. Kollios further stated that
              24 Viktor and Leila may have applied for asylum in Switzerland, and may not have
              25 current passports (no documentation of these assertions, or their legal significance,
              26 was provided).
              27                16.       The parties also discussed litigation in an action pending in the
              28 Southern District of New York regarding the deposition of Iliyas. We explained
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                   1 our belief that under governing federal law, including the presumption that
                   2 depositions will be conducted under the Federal Rules, and the factors that courts
                   3 typically consider when determining the appropriate location of a defendant’s
                   4 deposition, the depositions of the Individual Defendants in this action (including
                   5 Iliyas) should take place in Los Angeles.
                   6            17.       According to Ms. Kollios, Viktor and Iliyas are going to be deposed in
                   7 connection with the action pending in the Southern District of New York at the end
                   8 of January/beginning of February. Despite the serious limitations of conducting
                   9 these depositions through the Hague Convention procedures in Switzerland, we
              10 offered as a potential compromise to participate in these depositions in lieu of
              11 deposing these Defendants in Los Angeles, subject to their agreement to allow
              12 Plaintiff to participate (and to give Plaintiff sufficient time to conduct their portion
              13 of the deposition(s)). Ms. Kollios did not agree to this proposed compromise,
              14 which she did not believe would be permissible under Swiss law.
              15                18.       In a further effort to compromise, we offered to cover the Individual
              16 Defendants’ travel costs to Los Angeles (or elsewhere) in connection with their
              17 depositions. We further offered to take their depositions in a location that might be
              18 more convenient to the Individual Defendants (e.g., London, England) where the
              19 deposition could be conducted under the Federal Rules of Civil Procedure. Ms.
              20 Kollios did not agree to these proposed compromises.
              21                19.       With respect to the 2017 written discovery requests, we also offered
              22 as a proposed compromise to limit any request seeking information pertaining to
              23 specific financial transactions to monetary amounts of $50,000 or more. We
              24 further offered to narrow the definitions of “Kazakhstan Transaction” and “U.S.
              25 Transaction” to include only those items specifically listed in the corresponding
              26 appendices included with the requests. Ms. Kollios did not agree to these proposed
              27 compromises. The parties were unable to reach any further compromises
              28 regarding the discovery responses at issue.
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                   1            20.       Defendants’ counsel (Lara Kollios and Martha Boersch) are located
                   2 outside of Los Angeles County, and therefore the parties met and conferred
                   3 telephonically.
                   4            I declare under penalty of perjury under the laws of the United States of
                   5 America that the foregoing is true and correct.
                   6            Executed in Los Angeles, California on January 11, 2018.
                   7
                                                                     By    /s/ Jonathan M. Jackson
                   8                                                      Jonathan M. Jackson
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